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                                                                                        United States District Court
                                                                                          Southern District of Texas

                                                                                             ENTERED
                             UNITED STATES DISTRICT COURT                                  October 15, 2022
                              SOUTHERN DISTRICT OF TEXAS                                  Nathan Ochsner, Clerk
                                  HOUSTON DIVISION

                                                       )
 ANTHONY BARILLA,                                      )     Civil Action No. 4:20-CV-00145
                                                       )
       Plaintiff,                                      )     Honorable Judge
 v.                                                    )     Alfred H. Bennett
                                                       )
 CITY OF HOUSTON, TEXAS,                               )
                                                       )
       Defendant.                                      )
                                                       )

           ORDER ON UNOPPOSED MOTION TO CONTINUE REMAINING
                  PRETRIAL DEADLINES AND TRIAL DATE

       This Court has considered Plaintiff Anthony Barilla’s Unopposed Motion to Continue

Remaining Pretrial Deadlines and Trial Date. The Court finds that the request is made for good

cause. Accordingly, the Court hereby GRANTS the motion.

       IT IS THEREFORE ORDERED THAT all remaining pretrial deadlines and the trial

date in this case are stayed until 30 days after the date this Court rules on the Parties’ cross-

motions for summary judgment.

IT IS SO ORDERED.



October 14, 2022                               __________________________________________
Date                                           HONORABLE JUDGE ALFRED H. BENNETT
                                               United States District Judge




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